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9                         UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA
10                                  NORTHERN DIVISION

11
      In re                                           §   CASE NO. 9:16-BK-11912-DS
12                                                    §
      CHANNEL TECHNOLOGIES GROUP, LLC,                §   Chapter 11
13       Debtor.                                      §
                                                      §   ADV NO. 9:18-AP-01058-DS
14
                                                      §
      CORPORATE RECOVERY ASSOCIATES,
15                                                    §   PLAINTIFF’S RESPONSE TO
      LLC, as Trustee for the Liquidating Trust of
                                                      §   DEFENDANTS FIDUS
16    Channel Technologies Group, LLC,
                                                      §   INVESTMENT CORPORATION,
                                                      §   FIDUS MEZZANINE CAPITAL II,
17            Plaintiff,
                                                      §   L.P., AVANTE MEZZANINE
18                                                    §   PARTNERS SBIC, LP, AVANTE
      v.
                                                      §   MEZZANINE PARTNERS II, INC.’S
19                                                    §   MOTION TO DISMISS SECOND
      BLUE WOLF CAPITAL PARTNERS, LLC, et
                                                      §   AMENDED COMPLAINT
20    al.,
                                                      §
           Defendants.
21                                                    §   Hearing
                                                      §    Date: September 10, 2019
22                                                    §   Time:    1:00 p.m.
                                                      §
23
                                                      §   Place:   Courtroom 1639
24                                                    §            United States
                                                      §            Bankruptcy Court
25                                                    §            255 E. Temple Street
                                                      §            Los Angeles, CA 90012
26
27

28   THE TRUSTEE’S RESPONSE TO MEZZANINE LENDERS’ MOTION TO DISMISS                        i
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            Plaintiff Corporate Recovery Associates, LLC, solely in its capacity as Trustee
1

2     for the Liquidating Trust of Debtor Channel Technologies Group, LLC (the

3     “Trustee”), by and through its undersigned counsel, hereby responds to Defendants
4
      Fidus Investment Corporation, Fidus Mezzanine Capital II, L.P., Avante Mezzanine
5
      Partners SBIC, LP, Avante Mezzanine Partners II, Inc.’s (collectively, “Defendants”
6
      or the “Mezzanine Lenders”) Motion to Dismiss and, in support hereof, hereby shows
7

8     as follows:

9
                                    I.   INTRODUCTION
10

11          The Trustee’s Second Amended Complaint contains sufficient factual detail

12    to establish the plausibility of its claims that (1) Channel Technologies Group, LLC’s
13    (the “Debtor”) management and the Blue Wolf Entities directed the Debtor to make
14
      actual and constructive fraudulent transfers in violation of the Bankruptcy Code
15
      and California Law to the Mezzanine Lenders; (2) that the Trustee has the right to
16

17    seek the avoidance of those transfers to the Mezzanine Lenders; and (3) that the

18    Trustee may avoid preferential transfers to the Mezzanine Lenders. The Mezzanine
19    Lenders do not meet their burden to prove that the Trustee’s well-pled claims are
20
      implausible. While the Mezzanine Lenders improperly request that the Court take
21
      judicial notice of unauthenticated and challenged evidence, the Court should deny
22

23    this request.

24          The Trustee alleges detailed facts demonstrating how the Debtor’s
25    management and the Blue Wolf Entities took advantage of their control of the
26
      Debtor to exhaust and transfer the entirety of the Debtor’s assets to themselves and
27

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      for the benefit of other separate entities absent the Debtor receiving any reasonably
1

2     equivalent value.   Faced with the Trustee’s well-pled factual allegations, the

3     Mezzanine Lenders misstate the Trustee’s pleading burden and improperly asks the
4
      Court to decide complex factual issues at the pleading stage (when the Trustee’s
5
      allegations must be accepted as true)—and without the benefit of discovery.
6
      Thus, the Mezzanine Lenders’ motion must be denied.
7

8                       II. RELEVANT FACTUAL BACKGROUND

9          On or about December 2011, Blue Wolf Capital Partners, LLC, acting through

10    its executive management team of Adam Blumenthal, Haranjeet Narulla, and
11    Charles Miller among others, reached an agreement to purchase the Debtor. Blue
12
      Wolf Capital Partners directed one of its wholly owned and controlled subsidiaries—
13
      Blue Wolf Capital Advisors—to direct another subsidiary owned and controlled by
14

15    Blue Wolf Capital Partners—Blue Wolf Capital Fund—to form and fund BW Piezo

16    Holdings, LLC (“BW Piezo”) (collectively, the “Blue Wolf Entities”) for the sole
17    purpose of acquiring the Debtor, a California-based manufacturer of piezoelectric
18
      equipment. Second Am. Compl. ¶ 24, June 28, 2019, ECF No. 156 [hereinafter
19
      “SAC”]. After acquiring the Debtor, Blue Wolf Capital Partners, through the Blue
20

21    Wolf Entities, operated BW Piezo and the Debtor as alter egos of each other and as

22    a single business enterprise, routinely commingling funds and assets between the
23    different companies. SAC ¶¶ 24–26, 29–32, 37–39.
24
           Sometime in 2013, the Debtor’s management, under Blue Wolf Capital
25
      Partners’ control, decided to expand the Debtor’s business and acquire H.C.
26
27    Materials, Inc., a crystal manufacturer. Id. ¶ 28.     In October 2013, Blue Wolf

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      Capital Partners, acting through BW Piezo, forced the Debtor and its subsidiary to
1

2     join BW Piezo and AM as borrowers in the Amended and Restated Credit Agreement

3     with OneWest Bank. Id. ¶ 32. At the same time, Blue Wolf Capital partners acting
4
      through BW Piezo, forced the Debtor to enter into separate loan and investment
5
      agreements (the “the Debtor AM Loans”) with Fidus Investment Corporation; Fidus
6
      Mezzanine Capital II, L.P.; Avante Mezzanine Partners SBIC, LP; Avante
7

8     Mezzanine Partners II, Inc. (the “Mezzanine Lenders”). Id. ¶¶, 30, 33. In addition,

9     CIT Bank loaned BW Piezo, CTG Advanced Materials (“AM”), and the Debtor over
10
      $31,000,000, along with a $8,000,000 revolving loan facility, to help purchase H.C.
11
      Materials. Id. ¶ 32.
12
            After securing the financing, Blue Wolf Capital Partners, acting through BW
13

14    Piezo, the Debtor, and AM, used the loan proceeds and the Debtor’s cash to acquire

15    H.C. Materials’ assets for $48 million. Id. ¶ 35. Immediately, the Blue Wolf Entities,
16
      Blumenthal, and Narulla issued press releases and represented to the public that
17
      the Debtor had acquired H.C. Materials. Id. Blue Wolf Capital Partners’ actions left
18
      the Debtor saddled with significant debt and limited the Debtor’s business. Id.
19

20          Despite these public representations, Blue Wolf Capital Partners, acting

21    through its executive management team and BW Piezo, surreptitiously decided to
22
      segregate the companies on paper. Id. ¶ 36. The new entity named AM purchased
23
      H.C. Materials’ assets; however, Blue Wolf structured AM to be a sister company to
24
      the Debtor under the ownership of BW Piezo, instead of as a wholly-owned
25

26    subsidiary of the Debtor. Id.

27

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            The paper segregation was fictional. Despite surreptitiously structuring AM
1

2     as a sister company, Blue Wolf Capital Partners, acting through its executive

3     management team and the Debtor’s alter ego BW Piezo, forced the Debtor to use its
4
      assets to make payments to the Mezzanine Lenders and to CIT Bank, N.A. pursuant
5
      to the loan agreements. Id. ¶ 37. The companies, along with BW Piezo, were then
6
      operated as a single-business enterprise by the Debtor’s management. Id.
7

8           From December 20, 2013 to December 31, 2015, the Debtor made regular

9     payments to Fidus Investment Corporation and Fidus Mezzanine Capital II, L.P.
10
      totaling $1,959,987.31. Id. ¶ 38. From December 19, 2013 to February 18, 2016, the
11
      Debtor made regular payments to Avante Mezzanine Partners SBIC, LP and Avante
12
      Mezzanine Partners II, Inc. totaling $1,957,300.44. Id.
13

14         After years of commingling assets and depleting the Debtor’s resources for the

15    benefit of AM and Blue Wolf Capital Partners, Blue Wolf Capital Partners learned
16
      that the Debtor was insolvent. Id. ¶¶ 40–41. In late 2015, Blue Wolf Capital
17
      Partners, realizing that it needed to create separation between BW Piezo, the
18
      Debtor, and AM prior to the Debtor’s bankruptcy, decided to sell AM. Id. ¶ 42.
19

20         On or about March 2016, Blue Wolf Capital Partners, through its executive

21    management team and the Debtor’s alter ego BW Piezo, sold AM for approximately
22
      $73 million to CTS Corporation. Id. ¶ 46. Instead of returning to the Debtor the
23
      proceeds from the sale of assets of AM, Blue Wolf Capital Partners, acting through
24
      the Debtor’s alter ego BW Piezo, structured the transaction to have CTS Corporation
25

26    transfer the proceeds to Blue Wolf Capital Partners and its shell companies, CIT

27

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      Bank, N.A., the Mezzanine Lenders, Pengdi Han, and to Blue Wolf Capital Partners
1

2     insiders as bonus payments. Id. In fact, because BW Piezo did not even have its

3     own bank account, Blue Wolf Capital Partners directed CTS Corporation to transfer
4
      the proceeds from the sale of AM to Blue Wolf Capital Fund. Id. Specifically, as
5
      part of the AM sale, the Debtor transferred (1) $7,264,770.39 to Fidus Investment
6
      Corporation and Fidus Mezzanine Capital II, L.P. 1 ; (2) $7,263,263.90 to Avante
7

8     Mezzanine Partners SBIC, LP; and (3) the Debtor transferred $1,340.39 to Avante

9     Mezzanine Partners II, Inc.
10
             In addition to these transfers, Blue Wolf Capital Partners, through its
11
      executive management team and the Debtor’s alter ego BW Piezo, transferred more
12
      than $400,000 to the Mezzanine Lenders as equity distributions (the “Equity
13

14    Distributions”). Second Am. Complaint, Schedule B.

15          Shortly thereafter, the Blue Wolf Entities directed the Debtor to file for
16
      bankruptcy in October 2016, leaving the Debtor’s unsecured creditors “holding the
17
      bag.” Id. ¶ 48.
18
                                       III. LEGAL STANDARD
19

20           All pleadings setting forth claims for relief must include a short and plain

21    statement of the claim showing that the pleader is entitled to relief. 2 Moore’s Fed.
22
      Practice Civ. § 8.04. A plaintiff must plead “enough facts to state a claim to relief
23
      that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
24

25

26
      1The transfer was made to Fidus Investment Corporation’s bank account; however, a “For Further
27    Credit” designation was included to route the transfer to Fidus Mezzanine Capital II, L.P. SAC ¶ 65.

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      “[F]acial plausibility” exists “when the plaintiff pleads factual content that allows
1

2     the court to draw the reasonable inference that the defendant is liable for the

3     misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). The federal pleading
4
      standard “does not require ‘detailed factual allegations,’” Ashcroft v. Iqbal, 556 U.S.
5
      662, 678 (2009), although the Complaint must “give the defendant fair notice of what
6
      . . . the claim is and the grounds upon which it rests,” Erickson v. Pardus, 551 U.S.
7

8     89, 93 (2007).

9          If a plaintiff alleges fraud as a cause of action, the plaintiff must plead with
10
      particularity the circumstances constituting fraud. Fed R. Civ. P. 9(b). “A complaint
11
      alleging fraud meets the Rule 9(b) standard if it alleges the time, place, and content
12
      of the fraudulent statements, including reasons why the statements are false.
13

14    United States v. Hempfling, 431 F. Supp. 2d 1069, 1075 (E.D. Cal. 2006) (citing In

15    re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1547-48 (9th Cir. 1994) (en banc), rev’d on
16
      other grounds, 60 F.3d 591 (9th Cir. 1995)). “Where fraud allegedly occurred over a
17
      period of time, however, Rule 9(b)’s requirement that the circumstances of fraud to
18
      be stated with particularity are less stringently applied.” Id. Further, “plaintiffs
19

20    are not absolutely required to plead the specific date, place, or time of each of the

21    fraudulent acts, provided they use some alternative means of injecting precision and
22
      some measure of substantiation into their allegations of fraud.” 2 Moore’s Fed.
23
      Practice Civ. § 9.03.
24
            Motions to dismiss for failure to state a claim are disfavored and rarely
25

26    granted. United States v. Hempfling, 431 F. Supp. 2d 1069, 1075 (E.D. Cal. 2006).

27

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      “A complaint should not be dismissed unless it appears beyond doubt that plaintiff
1

2     can prove no set of facts in support of his claim which would entitle him to relief.”

3     Van Buskirk v. CNN, Inc., 284 F.3d 977, 980 (9th Cir. 2002). Moreover, in deciding
4
      a motion to dismiss, a court “must accept all factual allegations of the complaint as
5
      true and draw all reasonable inferences in favor of the nonmoving party.” TwoRivers
6
      v. Lewis, 174 F.3d 987, 991 (9th Cir. 1999).
7

8                                     IV. ARGUMENT

9             The Trustee seeks the avoidance of two general categories of fraudulent
10
      transfers made in violation of both state and federal law. The first category of
11
      transfers are fraudulent transfers made by the Debtor, AM, and the BW Piezo as
12
      alter egos of each other—or transfers made by the Debtor operated as a single
13

14    enterprise by Blue Wolf Capital Partners—(the “Alter Ego Transfers”).         These

15    transfers were made in March 2016. The second category of transfers is pled in the
16
      alternative—in the event the Court does not make an alter ego determination—
17
      includes transfers made by the Debtor to the Blue Wolf Entities, AM, and to third
18
      parties not for the benefit of the Debtor (the “No Benefit Transfers”) prior to March
19

20    2016.

21
      A.      Alter Ego Transfers
22

23            1.   The Trustee may maintain fraudulent transfer claims under an alter
                   ego theory of liability
24

25            The Alter Ego Transfers center around the sale of AM and the subsequent

26    disbursement of the proceeds to the exclusion of the Debtor on or about March 2016.
27

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      The Alter Ego Transfers the Trustee may avoid concerning the Mezzanine Lenders
1

2     include the Payoff and Equity Distributions. The Trustee pleads and contends that

3     the Debtor, AM, and the Blue Wolf Entities operated as alter egos of each other or
4
      as a single enterprise, and that justice and equity require that their separate
5
      corporate forms be disregarded in relation to the Alter Ego Transfers. This is
6
      appropriate because “the separate personality of the corporation is a statutory
7

8     privilege, it must be used for legitimate business purposes and must not be

9     perverted.” Shaoxing Cty. Huayue Imp. & Exp. v. Bhaumik, 191 Cal. App. 4th 1189,
10
      1197 (2011). When this privilege is abused, as the Trustee has pled here, the
11
      separate personality of the corporation is disregarded. See id. Similarly,
12
                  under the single-enterprise rule, liability can be found
13
                  between sister companies. . . . In effect what happens is
14                that the court, for sufficient reason, has determined that
                  though there are two or more personalities, there is but one
15
                  enterprise; and that this enterprise has been so handled
16                that it should respond, as a whole, for the debts of certain
                  component elements of it. The court thus has constructed
17
                  for purposes of imposing liability an entity unknown to any
18                secretary of state comprising assets and liabilities of two or
                  more legal personalities; endowed that entity with the
19                assets of both, and charged it with the liabilities of one or
20                both.

21    Las Palmas Assocs. v. Las Palmas Ctr. Assocs., 235 Cal. App. 3d 1220, 1249–50

22    (1991).
23         The Mezzanine Lenders challenge the Trustee’s ability to avoid the Payoff and
24
      Equity Distributions by arguing (1) there was no transfer of an interest in the
25
      Debtor’s property; (2) the Mezzanine Lenders are subsequent transferees and
26
27    accepted the Payoff and Equity Distributions for value, in good faith, and without

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      knowledge; and (3) the Equity Distributions are shielded from disgorgement under
1

2     Section 548(c) of the Bankruptcy Code. These arguments should be rejected.

3          First, as explained above, the Trustee pleads that the Debtor, AM, and the
4
      BW Piezo operated as alter egos of each other or as a single enterprise, and that
5
      justice and equity require that their separate corporate forms be disregarded. SAC
6
      ¶¶ 49–62. During this time, the Debtor owned the assets, including through its alter
7

8     egos. Thus, the transfer of the Payoff and Equity Distributions was comprised of

9     the Debtor’s assets.
10
            Second, based on the same alter ego allegations, the Mezzanine Lenders are
11
      not subsequent transferees. Any transfer of assets between the entities operating
12
      as one is not an “initial transfer”: “The mere power of a principal to direct the
13

14    allocation of corporate resources does not amount to legal dominion and control,

15    which is required for initial-transferee status.” In re Walldesign, Inc., 872 F.3d 954,
16
      964 (9th Cir. 2017), cert. denied sub nom. Henry v. Weiss, 138 S. Ct. 2575 (2018).
17
      Moreover, “a principal does not become an initial transferee simply by using his or
18
      her control over corporate assets to effect a fraudulent transfer.” Id. Here, because
19

20    the entities were alter egos or a single enterprise, legal dominion and control of the

21    assets underlying the Alter Ego Transfers, including the Payoff and Equity
22
      Distributions, did not transfer until March 2016 when they were sold to a third-
23
      party and the proceeds were distributed to the Mezzanine Lenders. Thus, the Payoff
24
      and Equity Distribution transfers are initial transfers.
25

26
27

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           Third, § 548(c) does not apply to transfers made to the Mezzanine Lenders
1

2     because the Mezzanine Lenders did not give value to the Debtor.          Section 548(c)

3     provides, “a transferee or obligee of such a transfer or obligation that takes for value
4
      and in good faith has a lien on or may retain any interest transferred or may enforce
5
      any obligation incurred, as the case may be, to the extent that such transferee or
6
      obligee gave value to the debtor in exchange for such transfer or obligation.”
7

8     11 U.S.C. § 548(c). The Mezzanine Lenders argue that under this provision, the

9     Equity Distributions are shielded from disgorgement because the distributions total
10
      “far less than the $2,000,000 that the [Mezzanine Lenders] provided the [the Blue
11
      Wolf Entities] through their initial investment.” Defs.’ Mot. to Dismiss at 9. But
12
      the statutory language is clear; the transferee must give value to the debtor for the
13

14    exception to apply. Here, the Mezzanine Lenders gave $2,000,000 to the Blue Wolf

15    Entities—not the Debtor—and the Debtor did not receive any value in exchange for
16
      that payment to the Blue Wolf Entities.
17
           2.     The Trustee sufficiently states claim for the avoidance of actual and
18                constructive fraudulent transfers pursuant to the Bankruptcy Code
19
            In their Motion to Dismiss, the Mezzanine Lenders do not dispute that they
20
      received the Alter Ego Transfers; instead, the Mezzanine Lenders argue that the
21

22    Trustee has not sufficiently pled enough factual detail that the Mezzanine Lenders

23    participated in the alleged scheme to hinder, delay, and defraud the Debtor
24    creditors. Def.’s Mot. to Dismiss 12.
25
            This is not the applicable standard.         Under the Bankruptcy Code, a
26
      liquidating trustee has the authority to enlarge a debtor’s estate by invalidating
27

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      fraudulent transfers, thereby returning the property to the debtor’s estate. In re
1

2     Walldesign, Inc., 872 F.3d 954, 959 (9th Cir. 2017) (citing 11 U.S.C. §§ 544(b)(1),

3     548(a)(1)(B)). “When a trustee has proven the avoidability of a fraudulent transfer,
4
      the trustee may recover the property or its value from ‘(1) the initial transferee of
5
      such transfer or the entity for whose benefit such transfer was made; or (2) any
6
      [subsequent] transferee of such initial transferee.’” Id. (quoting 11 U.S.C. § 550(a)).
7

8     A liquidating trustee has an absolute right of recovery against the initial transferee

9     and any entity for whose benefit such transfer was made. Danning v. Miller (In re
10
      Bullion Reserve of N. Am.), 922 F.2d 544, 547 (9th Cir. 1991). Thus, the Trustee need
11
      not prove that the Mezzanine Lenders was engaged in fraud; the Trustee need only
12
      ultimately prove that (1) the transfers at issue should be avoided; and (2) that the
13

14    Mezzanine Lenders were an initial or subsequent transferee. Indeed, the Mezzanine

15    Lenders do not dispute the Trustee’s claims regarding the Blue Wolf Entities. And
16
      the Trustee has met the applicable pleading standards at this stage of the litigation
17
      as provided below.
18
            First, to prevail on its claims for the avoidance of the Debtor’s actual
19

20    fraudulent transfers, the Trustee must ultimately prove: (1) the transfers involved

21    property of the debtor; (2) the transfers were made within two years of the filing of
22
      the debtor’s bankruptcy petition; and (3) the debtor made the transfers or incurred
23
      the obligations with actual intent to hinder, delay, or defraud any existing or
24
      resulting creditor. 11 U.S.C. § 548(a)(1)(A). The Trustee has met its burden of
25

26    pleading facts establishing a plausible claim for relief and pleading with

27

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      particularity the circumstances constituting fraud. In its SAC, the Trustee pleads
1

2     that the actual fraudulent transfers involved the Debtor’s property. See SAC ¶ 64

3     (“The following transfers [were made] with property of [the Debtor]:”); ¶¶ 65–79
4
      (listing the Debtor’s property); see also Schedule B 81–116. The Trustee pleads that
5
      those transfers covered by the Bankruptcy Code were made or entered into after
6
      October 14, 2014, two years prior to the Debtor’s bankruptcy petition. Id. ¶¶ 65–79.
7

8     Additionally, in an exhibit specifically incorporated into the SAC, the Trustee

9     provides greater detail regarding the transfers made to or for the benefit of the Blue
10
      Wolf Entities, including the period in which the transfers took place, the total
11
      amount the transfers amounted to, and for whose benefit the transfers were made.
12
      See SAC Schedule B 81–116.
13

14          These transfers were fraudulent because they were made in furtherance of a

15    scheme perpetrated by the Debtor’s management and controlling shareholder to
16
      exhaust the Debtor’s assets, preserve AM’s assets, and ultimately put the Debtor
17
      into bankruptcy, thereby hindering, delaying, or defrauding the Debtor’s creditors
18
      from being able to collect on debts owed. See SAC ¶ 85. The Trustee alleges that
19

20    the Blue Wolf Entities hindered, delayed, or defrauded the Debtor’s creditors by

21    saddling the Debtor with massive debt, operating the Debtor with little cash
22
      reserves, and liquidating the Debtor’s assets before filing for bankruptcy. Id. ¶¶ 40–
23
      48.
24

25

26
27

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            The fraud did not stop there. “Fraudulent intent may be shown through
1

2     circumstantial evidence of actual intent to defraud, or ‘badges of fraud.’” In re Stern,

3     345 F.3d 1036, 1046–47 (9th Cir. 2003). Such badges of fraud include, inter alia:
4
        •   a purported transfer of all or substantially all of the Debtor’s property;
5
        •   insolvency or other unmanageable indebtedness on the part of the Debtor;
6
        •   a special relationship between the Debtor and the transferee;
7
        •   whether the Debtor removed or concealed assets; and
8
        •   whether the value of the consideration received by the Debtor was reasonably
9
            equivalent to the value of the asset transferred or the amount of the obligation
10          incurred.

11    See In re Acequia, Inc., 34 F.3d 800, 806 (9th Cir. 1994); see also Attebury Grain LLC

12    v. Grayn Co., 721 F. App’x 669, 671 (9th Cir. 2018) (citing Cal. Civ. Code

13    § 3439.04(a)(1)). These badges of fraud are present here. The Trustee asserts that

14    the Blue Wolf Entities schemed by misrepresenting the relationship between the

15    Debtor and AM as a way to conceal assets. SAC ¶¶ 35–39. Then, the Blue Wolf

16    Entities, as part of their scheme, operated the Debtor as an alter ego of or as a single

17    enterprise with AM and BW Piezo. SAC ¶¶ 49–62. They made the Debtor assume

18    massive loan obligations. Id. ¶¶ 32–33. During their operation of the Debtor, the

19    Blue Wolf Entities forced the Debtor “to guaranty loans, make payments on loans,

20    and pay liabilities and debts for BW Piezo and [AM].” Id. ¶ 83. And the Debtor had

21    commingled funds and assets with BW Piezo and AM. Id. ¶ 39. Later, the Trustee

22    alleges that the “transfer of the sales proceeds amounted to substantially all [of the

23    Debtor’s] remaining assets.” SAC ¶ 83. The result was that the Blue Wolf Entities

24    transferred the Debtor’s assets when they sold AM and distributed the proceeds to

25    the exclusion of the Debtor. Id. After exhausting the Debtor’s assets to pay for AM’s

26    expenses, the Debtor’s controlling shareholder sold AM, distributed the sales

27    proceeds to insiders and its own creditors; what it did not do is transfer any of the

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1     sales proceeds to reimburse the Debtor. Indeed, after denuding the Debtor of assets,

2     the Blue Wolf Entities subsequently put an insolvent the Debtor into bankruptcy

3     and left the creditors of the Debtor “holding the bag”. Id. ¶¶ 56–62. Above all, the

4     Trustee meets Rule 9(b)’s demands by providing the dates, amounts, source, and

5     transferee of each transfer. See SAC Schedule B 81–116.

6           Thus, the Trustee has alleged sufficient “facts [to] support an inference of

7     actual fraudulent intent.” See In re Acequia, Inc., 34 F.3d at 806. Indeed, the

8     Mezzanine Lenders’ own admissions provide support for the Trustee’s claim that the

9     Blue Wolf Entities’ scheme was fraudulent. The Mezzanine Lenders state that the

10    Debtor directly guaranteed, mortgaged its assets, and made payments for the

11    Mezzanine Loan despite AM allegedly being a separate entity and not the Debtor

12    subsidiary. Defs.’ Mot. to Dismiss at 3–5.

13          Second, to prevail on its claims for avoidance of the Debtor’s constructive

14    fraudulent transfers, the Trustee must ultimately prove: (1) the transfers involved

15    property of the debtor; (2) the transfer were made within two years of the filing of

16    the debtor’s bankruptcy petition; (3) the debtor did not receive reasonably equivalent

17    value in exchange for the property transferred; and (4) the debtor was insolvent on

18    the date the transfer was made or obligation incurred, became insolvent as a result
19    of the transfers made or obligations incurred, or the remaining capital was

20    unreasonably small for the debtor’s business. 11 U.S.C. § 548(a)(1)(B).

21          “Unlike actual fraudulent transfer, Rule 9(b)’s particularity requirement does

22    not apply to constructive fraudulent transfer claims.” LaChapelle v. Dong Kwan

23    Kim, 2015 U.S. Dist. LEXIS 161801 *20, 2015 WL 7753235 (N.D. Cal. Dec. 1, 2015).

24    Thus, the Trustee need only plead sufficient facts to establish a plausible claim for

25    relief, a burden the Trustee meets and surpasses for the same reasons articulated

26    above in relation to the Trustee’s actual fraudulent transfer claims. In addition, the
27    Trustee has pled that the Payoff and Equity Distributions were constructively

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1     fraudulent because the Debtor did not receive reasonably equivalent value, became

2     insolvent as a result of the transfers, and was undercapitalized. Id. ¶ 105. The

3     Trustee supports this claim by pleading numerous facts and incorporating by

4     reference a litany of exhibits showing the Debtor paying for liabilities and expenses

5     on behalf of AM and the Blue Wolf Entities without receiving reasonably equivalent

6     value in return. SAC ¶¶ 54, 105, Exs. 14, 19–27, SAC Schedule B 81–116.

7           Fourth, the Trustee also pleads that the Debtor was left insolvent and

8     undercapitalized as a result of these transfers. SAC ¶ 106.

9          3.     The Trustee sufficiently states claim for the avoidance of actual and
                  constructive fraudulent transfers pursuant to California law
10
            To prevail on a claim for actual and constructive fraudulent transfer under
11

12    the California Uniform Voidable Transactions Act, a plaintiff must prove the same

13    elements as under the Bankruptcy Code discussed above.           See Cal. Civ. Code
14    §§ 3439.04(1) (actual fraudulent transfer); 3439.04(2) (constructive fraudulent
15
      transfer). One major difference, however, is that pursuant to the California Uniform
16
      Voidable Transactions Act, the statute of limitations is longer. A plaintiff may seek
17

18    the avoidance of an actual fraudulent transfer made “not later than four years after

19    the transfer was made or the obligation was incurred or, if later, not later than one
20    year after the transfer or obligation was or could reasonably have been discovered
21
      by the claimant.”   § 3439.09(1).    A plaintiff may also seek the avoidance of a
22
      constructive fraudulent transfer made not later than four years after the transfers.
23

24    § 3439.03(2). Accordingly, for the same reasons discussed above, the Trustee has

25    sufficiently plead a plausible claim for the avoidance of both actual and constructive
26
27

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      fraudulent transfers and the Mezzanine Lenders cannot justify dismissal of this
1

2     claim. SAC ¶¶ 111–156, 201–241.

3     B.    No Benefit Transfers
4
             In the alternative that an alter ego or single business enterprise
5
      determination is not made, the Trustee seeks the avoidance of the No Benefit
6

7     Transfers under both the Bankruptcy Code and California law. The No Benefit

8     Transfers center around the transfer of the Debtor’s assets for the benefit of AM and
9
      the Blue Wolf Entities, including professional services rendered by third parties and
10
      loan payments. The Alter-Ego Transfers the Trustee may avoid concerning the
11
      Mezzanine Lenders include the Debtor Loan Payments.
12

13          1.     The Trustee did not receive any value in exchange for transfers made to
                   the Mezzanine Lenders
14

15           The Mezzanine Lenders argue that the Debtor Loan Payments do not

16    constitute fraudulent transfers because they were made on account of an antecedent
17    debt—the Mezzanine Loan. They argue that payments made on account of the
18
      Mezzanine Loan “in exchange for value” are not fraudulent transfers. But, the
19
      Mezzanine Lenders do not appreciate that the party making the transfer must be
20

21    the party receiving value in exchange. See In re Pajaro Dunes Rental Agency, Inc.,

22    174 B.R. 557, 578 (Bankr. N.D. Cal. 1994) (“The [reasonably equivalent value]
23    analysis is directed at comparing what the debtor surrendered and what
24
      the debtor received.”). “If a transfer solely benefits a third party, it is clear that the
25
      debtor has not received a reasonably equivalent value in exchange.”             Burbank
26
27    Generators, Inc. v. Gill, 48 B.R. 205, 206 (C.D. Cal. 1985). The focus is not on

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      whether the Mezzanine Lenders provided value, the focus is on whether the debtor
1

2     received value. See In re Lucas Dallas, Inc., 185 B.R. 801, 807 (B.A.P. 9th Cir. 1995)

3     (“The    question   is   not,   as    the   [defendants]   frame        it,   whether   the
4
      [defendants] gave reasonably         equivalent   value;    it     is         whether   the
5
      debtor received reasonably equivalent value.”).     Numerous courts have grappled
6
      with this issue in relation to receiving payments from a debtor that is not receiving
7

8     any value, and they have found that fraudulent transfer law places the

9     responsibility of actively investigating and tracing the source of funds it receives on
10
      the defendants. Klein v. King & King & Jones, P.C., 2:12-CV-00051, 2013 WL
11
      4498831, at *3 (D. Utah Aug. 19, 2013), aff’d sub nom. Klein v. King & King & Jones,
12
      571 Fed. App’x 702 (10th Cir. 2014); see also In re Pajaro Dunes Rental Agency, Inc.,
13

14    174 B.R. at 578.

15
              Here, the Debtor did not receive any value from making loan payments to the
16
      Mezzanine Lender for the benefit of AM. The Mezzanine Lenders cannot have it
17

18    both ways. If the Debtor was a separate and distinct corporate entity from the Blue

19    Wolf Entities and AM, then it received no value when it was used as a piggy bank
20
      to pay those entities’ liabilities. The Mezzanine Lenders untenable, contradictory
21
      positions are in full display when it argues in its Motion to Dismiss both that the
22
      Debtor has not established that the Debtor is entitled to the proceeds of the sale of
23

24    AM and that the loan payments made by the Debtor to the Mezzanine Lenders are

25    in satisfaction of a loan to the Debtor to acquire AM. Compare Defs.’ Mot. to Dismiss
26
27

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      Part III.A at 7–8 with Part III.B.3 at 17. Accordingly, the Mezzanine Lenders’
1

2     argument should be rejected.

3
            2.    The Trustee sufficiently states claim for the avoidance of actual and
4                 constructive fraudulent transfers pursuant to the Bankruptcy Code and
                  California law
5

6           First, the Trustee has met its burden of pleading facts establishing a
7     plausible claim for relief and pleading with particularity the circumstances
8     constituting fraud regarding the the Debtor Loan Payments as well. In its Second
9     Amended Complaint, the Trustee pleads in the alternative that the Blue Wolf
10    Entities directed the Debtor’s management to transfer the Debtor’s property to pay
11    for liabilities and professional services for the benefit of other separate entities such
12    as AM, including the Loan Payments transferred to the Mezzanine Lenders. SAC
13    ¶¶ 39, 207–08. The Trustee pleads, and it is undisputed, that some of the the Debtor
14    Loan Payments at issue were made or entered into after October 14, 2014, two years
15    prior to the Debtor’s bankruptcy petition. Id. ¶¶ 207–08. In addition, the Trustee
16    has pled that all of the the Debtor Loan Payments covered by California law were
17    made or entered into after October 12, 2014, or within a year of the Trustee’s
18    discovery of the same. Id. Additionally, in an exhibit specifically incorporated into
19    the Second Amended Complaint, the Trustee provides greater detail regarding the
20    transfers made for the benefit of the Blue Wolf Entities and AM, including the
21    Debtor Loan Payments made to the Mezzanine Lenders. SAC Schedule B 89–90,
22    108–09. This exhibit includes the period in which the transfers took place, the total
23    amount the transfers amounted to, and for whose benefit the transfers were made.
24    Id. The Trustee has pled that these transfers were fraudulent because they were
25    made in furtherance of a scheme perpetrated by the Debtor’s management and
26    controlling shareholder to exhaust the Debtor’s assets, preserve AM’s assets, and
27

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1     ultimately put the Debtor into bankruptcy, thereby hindering, delaying, or

2     defrauding the Debtor’s creditors from being able to collect on debts owed. See supra

3     Part IV.B.1 And again, the Mezzanine Lenders’ own admissions provide support for

4     the Trustee’s claim that the Blue Wolf Entities’ scheme was fraudulent.          The

5     Mezzanine Lenders state that the Debtor directly guaranteed, mortgaged its assets,

6     and made payments for the Mezzanine Loan despite AM allegedly being a separate

7     entity and not the Debtor subsidiary. Defs.’ Mot. to Dismiss at 3–5.

8           Second, the Trustee has met its burden of pleading facts establishing a

9     plausible claim for relief that the Debtor Loan Payments should be avoided as

10    constructively fraudulent transfers. The Trustee pleads in the alternative that the

11    Blue Wolf Entities directed the Debtor’s management to transfer the Debtor’s assets

12    to pay for liabilities and professional services for the benefit of other separate

13    entities, including AM. Second Am. Compl. ¶¶ 39, 207–08. The Trustee pled that

14    the transfers involved the Debtor’s property. See SAC ¶¶ 184, 227 (“The following

15    transfers [were made] with property of [the Debtor]:”); ¶¶ 185–195, 228–238 (listing

16    the Debtor’s property); see also Schedule B 81–116. The Trustee pled that that those

17    transfers covered by the Bankruptcy Code were made or entered into after October

18    14, 2014, within a period of two years prior to the Debtor’s bankruptcy petition. SAC
19    ¶¶ 185–195, 228–238. And again, in an exhibit specifically incorporated into the

20    SAC, the Trustee provides greater detail regarding the transfers made for the

21    benefit of the Blue Wolf Entities and AM, including the period in which the transfers

22    took place, the total amount the transfers amounted to, and for whose benefit the

23    transfers were made. See SAC Schedule B 81–116.

24           The Trustee has pled that these transfers were constructively fraudulent

25    because the Debtor did not receive reasonably equivalent value, became insolvent

26    as a result of the transfers, and was undercapitalized. Id. ¶¶ 196–97, 239–40. The
27

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1     Trustee also pleads that the Debtor was left insolvent and undercapitalized as a

2     result of these transfers. Id.

3
              3.         The Trustee Sufficiently States Claims for Avoidance and Recovery of
4                        Preferential Transfers

5             The Mezzanine Lenders argue that the Trustee cannot bring a claim for
6
      avoidance and recovery of preferential transfers because (1) the claim is barred by
7
      the statute of limitations; and (2) the Trustee has allegedly failed to plead facts
8

9     showing the Mezzanine lenders are insiders. These arguments should be rejected

10    for the following reasons.

11            First, the relation-back doctrine applies to the Trustee’s avoidance and
12
      recovery of preferential transfers claim.
13
                         An otherwise time-barred claim in an amended pleading is
14                       deemed timely if it relates back to the date of a timely
15                       original pleading. Under Rule 15(c)(1)(B), an amendment
                         asserting a new or changed claim relates back to the date
16                       of the original pleading if the amendment “arose out of the
                         conduct, transaction, or occurrence set out ... in the original
17                       pleading.” An amended claim arises out of the same
18                       conduct, transaction, or occurrence if it “will likely be
                         proved by the ‘same kind of evidence’ offered in support of
19                       the original pleading.” To relate back, “the original and
                         amended pleadings [must] share a common core of
20                       operative facts so that the adverse party has fair notice of
21                       the transaction, occurrence, or conduct called into
                         question.” The relation back doctrine of Rule 15(c) is
22                       “liberally applied.”
23    ASARCO, LLC v. Union Pac. R. Co., 765 F.3d 999, 1004 (9th Cir. 2014). Moreover,
24
      once litigation has been commenced, an opposing party is on notice that the pleading
25
      party        may     subsequently     raise   any   claims   forming    part   of    the   same
26
27    conduct, transactions, or occurrence as the original pleading. Id. Thus, “even where

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      amendments go beyond the mere correction or factual modification of the original
1

2     pleading and significantly alter the claim or defense alleged in that pleading, the

3     search under Rule 15(c) is for a common core of operative facts in the two pleadings.”
4
      Id (emphasis in original).
5
            The preferential transfers do not merely rise from the same occurrence or
6
      transactions from those transfers alleged in the Trustee’s First Amended Complaint,
7

8     the transfers are identical. Nor can the Mezzanine Lenders credibly argue that they

9     were not on notice regarding these transfers. A cursory look at the Mezzanine
10
      Lenders Motion to Dismiss the First Complaint and some simple arithmetic shows
11
      that the Mezzanine Lenders are fully aware that the Trustee is challenging these
12
      transfers. In their Motion to Dismiss the First Amended Complaint, the Mezzanine
13

14    Lenders admit that they received $14,529,374.68 from the Debtor in March 2016

15    after the sale of AM.    Defs.’ Mot. to Dismiss FAC 4–5.        A summation of the
16
      preferential transfers alleged results in the same total.      See SAC ¶¶ 276–78.
17
      Moreover, the Trustee alleged in its First Amended Complaint that from December
18
      2013 to December 2015, the Debtor made payments to the Mezzanine Lenders. FAC
19

20    ¶¶ 34; FAC 29. Not only were the Mezzanine Lenders on notice of these transfers,

21    the Mezzanine Lenders admitted these transfers took place in their Motion to
22
      Dismiss the First Amended Complaint. See Defs.’ Mot. to Dismiss FAC 2, 7. The
23
      fact that the Court ordered the Trustee to provide more detail regarding the
24
      transfers in question does not bar this claim for the same reason that the Trustee’s
25

26    more detailed fraudulent transfer claims are not barred: they arise out of the

27

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      conduct, transaction, or occurrence set out in the original pleading.    Thus, the
1

2     Mezzanine Lender’s argument should be denied.

3           Second, the Trustee has sufficiently alleged that the Mezzanine Lenders are
4
      insiders of the Debtor. “An insider is one who has a sufficiently close relationship
5
      with a debtor that his conduct is made subject to closer scrutiny than those dealing
6
      at arms length with the debtor.” In re Schuman, 81 B.R. 583, 586 (B.A.P. 9th Cir.
7

8     1987). The determination of whether a party is an insider is generally a question of

9     fact that is made on a case-by-case basis in consideration of a totality of the
10
      circumstances. Id. Here, the Trustee has alleged that the Mezzanine Lenders did
11
      not deal with the Trustee as ordinary arms-length lenders; instead, the Mezzanine
12
      Lenders entered into investment agreements and owned equity in BW Piezo. SAC
13

14    ¶¶ 33–34, 65, 67–68. Moreover, the Trustee pleads that the Mezzanine Lenders

15    prevented the Debtor from making any investments or acquisitions during the term
16
      of the agreement. Id. ¶ 34. These facts must be accepted as true and are sufficient
17
      to establish a plausible claim for relief.
18
            Third, the Trustee has sufficiently alleged that the Debtor was insolvent at
19

20    the time of the alleged transfers. The Trustee supports this claim by pleading

21    numerous facts and incorporating by reference a litany of exhibits showing the
22
      Debtor was left insolvent and undercapitalized throughout and as a result of these
23
      transfers. SAC ¶¶ 44–48, 106. In an attempt to defeat this claim at this stage of
24
      the litigation, the Mezzanine Lenders argue how the Trustee must prove insolvency;
25

26    but, this misses the point. At this stage of the proceedings, without the benefit of

27

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      discovery, the Trustee need only plead sufficient facts to establish that the Debtor
1

2     was insolvent. A hurdle that the Trustee has cleared.

3     C.   Whether Transfers to the Mezzanine Lenders Are Repayments of a
           Fully Secured Obligation Is a Fact Issue
4

5           The Mezzanine Lenders argue that transfers the Debtor made to it cannot be

6     fraudulent because they constitute repayments of a fully secured obligation.
7
      However, this argument suffers from two defects: (1) it requires the Court to
8
      improperly take judicial notice of contested evidence and the Debtor has pled that
9
      the Mezzanine Lenders were not fully secured lenders; and (2) the Mezzanine
10

11    Lenders cannot establish a good faith defense because the Debtor did not receive

12    value from the Mezzanine Lenders.
13
            First, the Mezzanine Lenders ask the Court to take judicial notice of the
14
      attached documents attached to its Motion to Dismiss to establish a factual issue:
15
      that the Mezzanine Lenders perfected their security interest and are fully secured
16

17    lenders. Typically, parties cannot present—and courts cannot consider—evidence

18    outside of the complaint when deciding a motion to dismiss. But the Court may in
19
      appropriate circumstances consider extrinsic evidence using judicial notice. See Lee
20
      v. City of L.A., 250 F.3d 668, 688 (9th Cir. 2001). Under the Federal Rules of
21
      Evidence, courts may take judicial notice of facts that are not subject to reasonable
22

23    dispute, either because they are “(1) generally known within the territorial

24    jurisdiction of the trial court or (2) capable of accurate and ready determination by
25
      resort to sources whose accuracy cannot be reasonably questioned.” Fed. R. Evid.
26
      201. For instance, the Court might take judicial notice that April 4, 2019, was a
27

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      Thursday, or that a party filed a brief opposing a motion in a state court case.
1

2     Ultimately, “[j]udicial notice is an explicitly limited doctrine.” Hsu v. Puma

3     Biotechnology, Inc., 213 F. Supp. 3d 1275, 1280 (C.D. Cal. 2016).
4
            Here, in contrast, the Mezzanine Lenders seek to expand the doctrine’s scope
5
      beyond recognition. The Mezzanine Lenders elevate unauthenticated, alleged UCC
6
      statements for the truth of the matter asserted. Therefore, the Mezzanine Lenders’
7

8     arguments relying on perfected security interests have no bearing at this stage of

9     the proceedings. See Lee, 250 F.3d at 688 (“[F]actual challenges to a plaintiff’s
10
      complaint have no bearing on the legal sufficiency of the allegations under Rule
11
      12(b)(6).”); see also TwoRivers v. Lewis, 174 F.3d 987, 991 (9th Cir. 1999) (“[Court]
12
      must accept all factual allegations of the complaint as true and draw all reasonable
13

14    inferences in favor of the nonmoving party.”).

15          Moreover, if the Court were to take judicial notice of the Mezzanine Lenders’
16
      documents or convert the Motion to Dismiss as one for summary judgment, the
17
      Court should afford the Trustee the opportunity to take discovery, which has been
18
      stayed for the length of this case at Defendants’ request. See Singh v. Am. Honda
19

20    Fin. Corp., 925 F.3d 1053, 1076 (9th Cir. 2019) (noting that “a district court may not

21    grant a motion to dismiss which has been converted into a summary judgment
22
      motion without furnishing all parties an opportunity to supplement the record”).
23
            Second, the Mezzanine Lenders cannot establish the good faith defense
24
      based on the pleadings because the Trustee pleads that the Mezzanine Lenders did
25

26
27

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      not provide value to the Debtor.         Section 548(c) protects a good faith initial
1

2     transferee to the extent value is given to the Debtor:

3                  a transferee or obligee of such a transfer or obligation that
                   takes for value and in good faith has a lien on or may
4
                   retain any interest transferred or may enforce any
5                  obligation incurred, as the case may be, to the extent that
                   such transferee or obligee gave value to the debtor in
6                  exchange for such transfer or obligation.
7
      11 U.S.C. § 548(c) (emphasis added); see also Gladstone v. Schaefer (In re UC Lofts
8
      on 4th, LLC), 2015 WL 5209252, *16–17 (9th Cir. BAP Sep. 4, 2015). the Debtor
9
      pleads that, in the alternative that an alter ego determination is not made, the
10

11    Mezzanine Lenders only provided value to BW Piezo, AM, and the Blue Wolf

12    Entities—not to the Debtor. See SAC ¶¶ 33–38. In its Motion, the Mezzanine
13
      Lenders hide this deficiency by arguing that they provided value to the “Loan
14
      Parties” to acquire the “Target”—the assets that formed AM; however, the Loan
15
      Parties are defined to include BW Piezo and AM. Pls.’ Mot. 17. Moreover, the
16

17    Mezzanine Lenders allegations regarding providing value to the Debtor contradict

18    and defeat the Mezzanine Lenders argument that the transfer of sale proceeds are
19
      not of the Debtor’s property. Thus, based on the pleadings, the first element of the
20
      good-faith defense is unavailable to the Mezzanine Lenders.
21
                                       V.    CONCLUSION
22

23           For the foregoing reasons, the Trustee respectfully requests the Court deny

24    the Mezzanine Lenders’ Motion to Dismiss in its entirety, and for any other and
25
      further relief, at law or in equity, to which it is justly entitled. Further, in the event
26
      the Court grants the Mezzanine Lenders’ Motion to Dismiss, the Trustee
27

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      respectfully requests further opportunity to amend and that any such dismissal be
1

2     without prejudice. See Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc)

3     (holding that when dismissing a complaint for failure to state a claim, “a district
4
      court should grant leave to amend even if no request to amend the pleading was
5
      made, unless it determines that the pleading could not possibly be cured by the
6
      allegation of other facts.”).
7

8

9     Dated: August 27, 2019                 Respectfully submitted,
10

11

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21                                           Special Litigation Counsel for
                                             Corporate Recovery Associates, LLC,
22
                                             Trustee for the Liquidating Trust of
23                                           Debtor Channel Technologies Group,
                                             LLC
24

25

26
27

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                                    PROOF OF SERVICE
1

2     STATE OF TEXAS, COUNTY OF DALLAS
            I am employed in the County of Dallas, State of Texas. I am over the age of
3     18 and not a party to the within action; my business address is 2100 Ross Avenue,
      Suite 2700, Dallas, Texas 75201.
4

5     On August 27, 2019, I caused the document described below as RESPONSE TO
      DEFENDANTS           FIDUS       INVESTMENT          CORPORATION,              FIDUS
6     MEZZANINE CAPITAL II, L.P., AVANTE MEZZANINE PARTNERS SBIC,
      LP, AVANTE MEZZANINE PARTNERS II, INC.’S MOTION TO DISMISS
7
      SECOND AMENDED COMPLAINT to be served on all interested parties in this
8     action via email:
                              SEE ATTACHED SERVICE LIST
9     []    (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United
      States Mail at Dallas, Texas. I am “readily familiar” with the firm’s practice of
10
      collection and processing correspondence or mailing. Under that practice it would
11    be deposited with the U.S. Postal Service on that same day with postage thereon
      fully prepaid at Dallas, Texas in the ordinary course of business. I am aware that
12    on motion of the party served, service is presumed invalid if postal cancellation date
      or postage meter date is more than one day after date of deposit for mailing in
13
      affidavit.
14
      []   (BY OVERNIGHT-FEDERAL EXPRESS) I caused said document(s) to be
15    picked up by U.S. Federal Express Services for overnight delivery to the offices of
      the addressees listed on the Service List.
16

17    []    (BY PERSONAL SERVICE) I caused to be delivered such document by hand
      to the above-identified recipient through the use of First Legal Attorney Service
18    whose address is: 1517 West Beverly Boulevard, Los Angeles, CA 90026, and whose
      telephone number is (213) 250-1111.
19

20    []    (BY FACSIMILE) I caused said document(s) to be telephonically transmitted
      to each addressee’s telecopier (Fax) number as noted.
21
      [XX] (BY ELECTRONIC MAIL) I caused said document(s) to be served via
22
      electronic transmission to each addressee’s electronic mail address(es) as noted on
23    the attached Service List.

24    I declare under penalty of perjury under the laws of the State of California that the
      above is true and correct.
25

26    Executed on August 27, 2019, at Dallas, Texas.
                                                           Emily Burch
27

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                                       SERVICE LIST
1

2          United States Bankruptcy Court – Central District of California
                                Northern Division
3                           Case No. 9:18-AP-01058-DS
                              Our File No. 03349.801
4

5     Served By The Court Via Notice Of Electronic Filing (“NEF”)

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